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                      UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF OHIO
                            EASTERN DIVISION

CBIZ, INC., et al.,                        )     Case No. 1:24-cv-1027
                                           )
      Plaintiffs,                          )     Judge J. Philip Calabrese
                                           )
v.                                         )     Magistrate Judge
                                           )     Jonathan D. Greenberg
GREGORY J. CRYAN, et al.,                  )
                                           )
       Defendants.                         )
                                           )

                              MINUTES AND ORDER

      The Court held a status conference by Zoom on December 23, 2024. Jeffrey S.

Dunlap and Lawrence D. Pollack appeared for Plaintiffs. Steven D. Pearson and

Robert A. Zimmerman appeared for Defendants.

      The Court discussed with counsel the briefs recently filed, supplementing the

record for Plaintiffs’ motion for a preliminary injunction. Plaintiffs informed the

Court that they will update certain exhibits due to some technical issues shortly.

Counsel advised the Court that they continue to discuss the confidentiality

designations of certain documents but do not believe that the issue is ripe for the

Court’s involvement at this time.

      Based on discussions with counsel, the Court amended the briefing schedule

relating to Plaintiffs’ motion for a preliminary injunction. Responses shall be filed on

or before January 10, 2025. The Court inquired whether any party intends to present

evidence, including the testimony of live witnesses, relating to the motion for

preliminary injunction or the motion for contempt. Counsel confirmed that they do
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not. The Court set oral argument on the motion for contempt and the motion for a

preliminary injunction for January 17, 2025 at 12:00 p.m. The Court will notify

counsel if there are specific questions or issues on which the Court has questions to

address at oral argument.

      SO ORDERED.

Dated: December 23, 2024




Time: 30 minutes                       J. Philip Calabrese
                                       United States District Judge
                                       Northern District of Ohio




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